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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TENNESSEE
                                      Western Division

 UNITED STATES OF AMERICA

 -vs-                                                                        Case No. 2:05cr20113-5-B

 RAMZI MALIKA BENT MOHAMED
 _______________________________________

                     ORDER APPOINTING COUNSEL PURSUANT TO
                           THE CRIMINAL JUSTICE ACT

         This Court has determined that the above-named defendant is financially unable to obtain adequate

 representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,

 the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

                                   APPOINTMENT OF COUNSEL

         •       Kemper Durand, a member of the Criminal Justice Act Panel of this District, is appointed
                 as counsel for the defendant.

                                      TYPE OF APPOINTMENT

         •       Through trial and notice of appeal.

         DONE and ORDERED in 167 North Main, Memphis, this 15th day of May, 2006.


                                                            __________s/ James H. Allen__________
                                                                     JAMES H. ALLEN
                                                           UNITED STATES MAGISTRATE JUDGE

 Copies furnished to:

 United States Attorney
 United States Marshal
 Pretrial Services Office
 Assistant Federal Public Defender
 Intake
 RAMZI MALIKA BENT MOHAMED
